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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
              v.                                   )       Cas No. 23-cv-2256
                                                   )
$30,800.00 IN UNITED STATES                        )
CURRENCY,                                          )
                                                   )
                      Defendant,                   )

    VERIFIED CLAIM OF INTEREST IN SEIZED PROPERTY FOR ERIK WHITE

NOW COMES, before this Honorable Court, Claimant Erik White, by and through his
undersigned counsel, and pursuant to the provisions of Federal Rule of Civil Procedure, pursuant
to Supplemental Rule G (5) for Admiralty or Maritime Claims and Asset Forfeiture Actions
(“Fed. R. Civ. P. Supp.”) respectfully to bring this VERIFIED CLAIM OF INTEREST IN
SEIZED PROPERTY FOR ERIK WHITE.
CLAIMANT hereby states as follows:
   1. Claimant Erik White hereby through his undersigned counsel Edward Johnson III, that he
      is the owner of the seized funds in the amount of $30,800.00 IN UNITED STATES
      CURRENCY. The Claimant is the owner and has 100% interest in the property. The
      funds represent an accumulation of the Claimant’s earnings, loans, and savings.
   2. Mr. White lawfully held, in his exclusive and sole possession and control, the $30,800.00
      IN UNITED STATES CURRENCY over time as proceeds from various legitimate cash
      transactions.
   3. There is no legal nexus between the seized property and the alleged criminal activity
      giving rise to forfeiture. The property seized is Mr. White’s property, it is not derived
      from a violation of any specified unlawful activity. It is not contraband.
   4. Mr. White intends to assert his right pursuant to the Excessive Fine Clause of the 8 th
      amendment of the U.S. Constitution, made applicable to States via the Due Process Claus
      of the 14th Amendment of the U.S. Constitution. See: Timbs v. Indiana, 139 S. Ct. 682,
      691, 203, Ed. 2d 11 (2019).
   5. Claimant reserves the right to amend and supplement this claim as necessary.
   WHEREFORE, based upon the information supra, Claimant Erik White, by and through his
   undersigned counsel, respectfully prays this Honorable Court enter a judgement to return the
   subject property to the undersigned counsel, and Claimant all other relief as it may dem just
   and proper.
       Date: August 31, 2023
             Respectfully submitted,
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                                                            /s/ Edward D. Johnson III
                                                            Edward Johnson & Associates, P.C.
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                                                            Chicago, IL 60608
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                                                            info@edwardjohnsonlaw.com


                                        VERIFICATION
 The undersigned declares under penalty of perjury that he is a claimant in the above-mentioned
 mater, that he has read the forgoing claim, that he knows the contents thereof, and the same is
                                   true of his own knowledge.
Date: August 31, 2023
                                                                    /s/ Erik white
                                                                           Erik White


                                CERTIFICATE OF SERVICE
I hereby certify that a copy of the forging was efiled and emailed to Lucas B. Draisey, Assistant

United States Attorney, at 300 South Fourth Street Minneapolis, MN 55415 on August 31, 2023.




                                                            /s/ Edward D. Johnson III
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